Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 1 of 15 PageID 990




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION
   UNITED STATES OF AMERICA

   -vs-                                                      Case No. 6:07-cr-211-Orl-22DAB

   THOMAS E. VANDER LUITGAREN

   __________________________________

                                                 ORDER

          This cause comes before the Court on consideration of Defendant Thomas E. Vander

   Luitgaren’s Motion to Dismiss. Doc. No. 37. United States Magistrate Judge David A. Baker has

   issued a Report & Recommendation on the Motion to Dismiss. Doc. No. 126 (hereafter “R&R”). Both

   the United States (hereafter “the government” or “the United States”) and Defendant Vander Luitgaren

   filed timely objections to the R&R. Doc. Nos. 127, 129. The Court hereby MODIFIES and ADOPTS

   in part the R&R and DENIES Defendant Vander Luitgaren’s Motion to Dismiss.

                                              Introduction

          The Magistrate held a two-day hearing on March 12 and 13, 2008, to determine whether the

   United States met the standard for protecting Defendant’s Fifth Amendment right against self

   incrimination set forth by the Supreme Court in Kastigar v. United States, 406 U.S. 441, 453 (1972).

   The Kastigar decision requires the government to show by a preponderance of the evidence that

   immunized testimony was not directly or indirectly used to further the government’s investigation or

   to obtain an indictment by showing that the evidence used came from a legitimate, independent source.

   United States v. Bartel, 19 F.3d 1105, 1112 (6th Cir. 1994); Kastigar, 406 U.S. at 460. Even if

   Defendant Vander Luitgaren’s immunized statements were used in violation of Kastigar, the indictment
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 2 of 15 PageID 991




   will stand if the government can show that the use was harmless beyond a reasonable doubt. United

   States v. Byrd, 765 F.2d 1524, 1532 (11th Cir. 1985).

          The only potential Kastigar violation raised in Defendant Vander Luitgaren’s objections to the

   R&R that requires deeper analysis is whether the presentation to the grand jury of three pieces of

   immunized evidence1 was improper. The three pieces of evidence at issue are: (1) Defendant Vander

   Luitgaren’s explanation that the $30,000 payment he received from Co-defendant Candelario was a

   loan; (2) the $30,000 check from Defendant Vander Luitgaren’s wife, Donna Vander Luitgaren, to Co-

   defendant Candelario allegedly for repayment of the loan; and (3) the handwritten note from Mrs.

   Donna Vander Luitgaren to Co-defendant Candelario thanking him for the loan. There is no dispute

   that the government presented these pieces of evidence to the grand jury and that this evidence was part

   of the case file. Doc. No. 126 p. 5. However, because these pieces of evidence were exculpatory, the

   government argues that its internal policy required disclosing them to the grand jury. Doc. No. 127 p.

   3; Doc. No. 123 p. 10. Furthermore, the government argues that this exculpatory evidence was subject

   to disclosure to defendants by the government’s attorneys pursuant to Brady v. Maryland, 373 U.S. 83,

   87-88 (1963). Doc. No. 127 p. 3.

          This Order first addresses the objections to the Magistrate’s R&R made by the United States,

   and then the objections made by Defendant Vander Luitgaren. The Court holds that presentation of

   Defendant Vander Luitgaren’s exculpatory explanation and supporting documents to the grand jury did

   not violate Kastigar. Even if the grand jury did not believe Defendant’s explanation, presenting it to

   the grand jury was at most harmless error. See Byrd, 765 F.2d at 1532. Thus, the Court ADOPTS the


            1
            In this Order, the Court also addresses Defendant Vander Luitgaren’s objections to the R&R
    based on other pieces of immunized evidence and why those objections lack merit.
                                                     -2-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 3 of 15 PageID 992




   Magistrate’s R&R in its recommendation that Defendant Vander Luitgaren’s Motion to Dismiss be

   denied. The Court respectfully MODIFIES one finding in the R&R, pursuant to 28 U.S.C. §

   636(b)(1)(C). See infra p. 12. However, this modification does not affect the validity of the

   Magistrate’s analysis.

                                         Note on Form of Motions

          The Court has before it two days of testimony from the Kastigar hearing, more than 60 pages

   of briefing on the motion to dismiss by Defendant Vander Luitgaren, and more than 30 pages of briefing

   by the government. During the Kastigar hearing, Judge Baker permitted Defendant Vander Luitgaren

   to file a 9-page legal memorandum containing additional argument as to why Defendant’s Motion to

   Dismiss should be granted. See Hr’g Tr. Mar. 13, 2008 p. 120; Doc. No. 118. At the close of the

   Kastigar hearing, the United States filed an 18-page memorandum (Doc. No. 123), and Defendant

   Vander Luitgaren filed a 38-page memorandum (Doc. No. 125), further arguing the merits of the motion

   to dismiss. Counsel for Defendant Vander Luitgaren was apparently aware that his 38-page document

   did not conform to the local rules, because, in a footnote, he stated that he believed that length limits

   in the local rules did not apply, and, if they did, he simultaneously moved for permission to file the 38-

   page document. Doc. No. 125 p. 1 n. 1.

          Counsel for Defendant Vander Luitgaren has repeatedly filed motions seeking exemptions from

   Court-set deadlines and the local rules, often simultaneously with substantive motions. See Doc. No.

   80 (this Court denied six untimely motions by Defendant Vander Luitgaren, though two of the motions

   were later reinstated); Doc. No. 83 p. 2 (Judge Baker decided that Defendant Vander Luitgaren’s

   motions were untimely, duplicative, and unnecessary); Doc. No. 100 p. 2 (document entitled “Motion

   to Dismiss Indictment and Motion for Leave to File After Criminal Scheduling Order Deadline,” but

                                                      -3-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 4 of 15 PageID 993




   the memorandum only contained argument regarding the substantive motion and merely incorporated

   by reference his co-defendant’s argument in support of an extension of the deadline); Doc. No. 105 p.

   2 (this Court denied Defendant’s “Motion for District Court Review” of motions that were already

   denied by district court and also deemed untimely and without good cause by magistrate); Doc. No.125

   p. 1 n. 1 (38-page supplemental memorandum on instant Motion to Dismiss assumes the local rule on

   length does not apply). The United States pointed out that these practices deprive it of the opportunity

   to respond as to whether exceptions and extensions should be allowed and instead forces the United

   States to respond to the substantive motions. Doc. No. 103 p. 3 n. 1. While the Court is not striking

   any of Defendant Vander Luitgaren’s pleadings, the Court ORDERS Defendant Vander Luitgaren and

   his counsel to follow the local rules and the Court’s Orders in this case. Further motions by any party

   that do not comply shall be stricken.

                                                  Analysis

   I. Objections by the United States to the R&R

          The United States objects to the R&R on the basis that the Magistrate inaccurately held that

   Mrs. Donna Vander Luitgaren, “confirmed that ‘Defendant did receive a loan and was innocent of any

   wrongdoing.’” Doc. No. 127 p. 2. The United States argues that Mrs. Donna Vander Luitgaren’s

   testimony did not confirm her husband’s immunized explanation that the $30,000 loan was for the

   purpose of restoring a Corvette. Id. Instead, Mrs. Donna Vander Luitgaren testified that the loan was

   to pay off a boat. Hr’g Tr. Mar. 13, 2008 pp. 94, 96. However, nothing in the R&R is inaccurate. As

   the R&R states, Mrs. Donna Vander Luitgaren confirmed that the payment was a loan and that her

   husband was innocent of any wrongdoing. Doc. No. 126 p. 5. That the R&R does not elaborate on the

   purposes given for the loan does not mean the R&R is incorrect. The distinction between Mrs. Donna

                                                     -4-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 5 of 15 PageID 994




   Vander Luitgaren’s statement regarding the boat loan and her husband’s statement about restoring a car

   may prove to be relevant at trial. However, its omission from the R&R does not affect the Magistrate’s

   analysis. Thus, the United States’ objection is OVERRULED.

          The United States also objects to the statement in the R&R that the United States acted contrary

   to “‘the recommended practice for prosecuting individuals who receive use immunity,’ which warned

   against permitting an attorney familiar with a defendant’s immunized testimony to participate in

   prosecut[ing]” that defendant. Doc. No. 126 p. 7. The United States argues that because the immunized

   statement at issue was exculpatory, Department of Justice policy2 and Brady, 373 U.S. at 87-88,

   required that the prosecuting attorney convey the exculpatory materials to the defendants and to any

   new attorney prosecuting the matter, making it impossible to prevent “an attorney familiar with the

   immunized testimony” from participating. Doc. No. 127 p. 3. The United States is correct that it had

   a legitimate reason for not following the recommended practice of preventing disclosure of immunized

   exculpatory information to future counsel. However, the R&R remains correct that the United States

   did not follow the recommended practice. Doc. No. 126 p. 7. That the United States had grounds for

   not following the practice does not render the R&R incorrect on this point. Thus, the United States’

   objection to the R&R is OVERRULED. Even if the R&R was interpreted as being incorrect regarding

   the facts of the government’s course of action, that would not affect the validity of the Magistrate’s

   analysis.




               2
            See U.S. Attorney’s Manual § 9-11.233, “Presentation of Exculpatory Evidence” (While the
    Supreme Court has not required divulging exculpatory information to the grand jury, “[i]t is the policy
    of the Department of Justice . . . that . . . the prosecutor must present or otherwise disclose [evidence
    that negates guilt] to the grand jury before seeking an indictment against such a person.”).
                                                      -5-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 6 of 15 PageID 995




          Finally, the United States objects to the fact that the R&R indicates that the United States

   presented Defendant Vander Luitgaren’s immunized statement to the grand jury in a manner that

   undermined his credibility. Doc. No. 127 p. 4. However, the Magistrate accurately characterized the

   grand jury testimony. Agent Woolard explained to the grand jury that Defendant Vander Luitgaren’s

   explanation was inconsistent with his prior statement. Doc. No. 126 p. 8. Thus, the government’s

   objection to the statement in the R&R that the government presented the evidence in a manner that

   called into question the credibility of Defendant’s explanation is OVERRULED.

          That the presentation of Defendant’s loan explanation to the grand jury may ultimately have

   caused the grand jury to disbelieve Defendant’s explanation does not mean that a Kastigar violation

   occurred. Bartel, 19 F.3d at 1113 (“Although the grand jury may have been suspicious of [defendant’s]

   exculpatory testimony, the grand jury did not indict defendant . . . until after it heard the inculpatory

   evidence . . . which was developed wholly independently” of the exculpatory immunized testimony.)

   As discussed more fully below, the exculpatory evidence presented to the grand jury here did not

   further the investigation or contribute to the indictment and thus did not violate Kastigar. See Bartel,

   19 F.3d at 1112.

   II. Objections by Defendant Vander Luitgaren to the R&R

   1. Agent Woolard’s Presentation of the Three Pieces of Immunized Evidence to the Grand Jury

          Defendant Vander Luitgaren’s objections stress the idea that dismissal is required unless the

   government can demonstrate that nothing presented to the grand jury came from immunized testimony.

   Doc. No. 129 p. 7. It is true that Kastigar prohibits use of immunized statements in obtaining an

   indictment (406 U.S. at 460), and it is clear that Agent Woolard expressly communicated Defendant

   Vander Luitgaren’s immunized explanation that the $30,000 was a loan to the grand jury. But, the

                                                      -6-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 7 of 15 PageID 996




   immunized information presented to the grand jury was Defendant Vander Luitgaren’s own explanation

   for the $30,000 payment to him by Co-defendant Luis Calendario. If true, the explanation would

   absolve Defendant Vander Luitgaren. See Hr’g Tr. Mar. 13, 2008 p. 113. As in Bartel, 19 F.3d at

   1113-14, the presentation of Defendant’s side of the story to the grand jury did not violate Defendant’s

   Fifth Amendment rights. The immunized evidence presented was exculpatory, and thus it did not

   “contribute to the indictment” so as to violate Kastigar. Bartel, 19 F.3d at 1113-14. Any other holding

   here would lead to indictments based only on the government’s side of the story in those cases where

   exculpatory evidence also happened to be immunized testimony.3

          It is true that Agent Woolard pointed out to the grand jury that Defendant Vander Luitgaren’s

   immunized explanation was inconsistent with his prior statement. See Doc. No. 126 p. 8. Though the

   suspicious timing of Defendant Vander Luitgaren’s explanation and the repayment and the apparent

   change in story may have raised doubts about the credibility of Defendant’s explanation, the three

   pieces of evidence were still properly presented to the grand jury in context as exculpatory information.

   It is not for the government to decide which exculpatory statements hold water and will continue to

   prove exculpatory, nor is the government prohibited from placing evidence in context. The argument

   that “compelled testimony may have been considered by the grand jurors as corroboration for the

   evidence presented to the grand jury by [the agent]” is “meritless.” Bartel, 19 F.3d at 1113. The

   government need not prove that the witness was not disadvantaged in every way, no matter how subtle.

   Id. Instead, the government need only show that it had an independent basis for the inculpatory

   evidence used. Id.


            3
            Thus, Department of Justice policy requires presentation of exculpatory evidence to the grand
    jury. See U.S. Attorney’s Manual § 9-11.233, supra n. 1.
                                                      -7-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 8 of 15 PageID 997




          Withholding the exculpatory evidence from the grand jury and from future attorneys working

   on the case would not have safeguarded Defendant’s constitutional rights under Brady and the Fifth

   Amendment and did not result in a Kastigar violation. See Bartel, 19 F.3d at 1113. Agent Woolard’s

   testimony regarding Defendant Vander Luitgaren’s explanation was at most harmless error and

   therefore does not invalidate the indictment. See Byrd, 765 F.2d at 1532. Thus, Defendant’s objection

   is OVERRULED.

   2.   Agent Woolard’s Knowledge of Immunized Testimony

          Defendant also objects to the R&R based on the fact that Agent Woolard had been exposed to

   the three pieces of immunized evidence and yet continued to investigate, interview witnesses, and

   testify before the grand jury. Doc. No. 129 p. 12. However, this theory is not a valid basis to object.

   The Eleventh Circuit has held that “[t]he focus of the inquiry under Kastigar . . . is not whether the

   prosecutor was aware of the contents of the immunized testimony, but whether he used the testimony

   in any way to build a case against the defendant.” United States v. Caporale, 806 F.2d 1487, 1518

   (11th Cir. 1986). Prior self-serving testimony that is not useful to the subsequent investigation cannot

   be used to show a Kastigar violation and defeat the indictment. Caporale, 806 F.2d at 1518-19. The

   government here provided an independent basis for all of the evidence presented to the grand jury,

   except for the three pieces of evidence that constitutes his exculpatory explanation for the $30,000

   payment. Doc. No. 126 p. 7. Mere awareness of the exculpatory evidence by Agent Woolard or the

   grand jury does not invalidate the indictment. Caporale, 806 F.2d at 1518-19.

          Similarly, the Supreme Court in Kastigar rejected the argument that the indictment should be

   dismissed in all cases where the same grand jury hears a defendant make immunized testimony and later

   indicts that defendant. Kastigar, 406 U.S. at 460. The Supreme Court rejected the argument that the

                                                     -8-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 9 of 15 PageID 998




   indictment must be performed by a different grand jury simply because it would be “difficult and

   perhaps impossible . . . to identify, by testimony or cross-examination, the subtle ways in which the

   compelled testimony may disadvantage a witness . . . .” Bartel, 19 F.3d at 1111 (citing Kastigar, 406

   U.S. at 460). If it does not violate the Fifth Amendment to have the same grand jury hear a defendant’s

   immunized testimony out of his own mouth and then later indict him, it does not violate the Fifth

   Amendment to have a testifying witness who is aware of Defendant’s immunized statements testify

   before the grand jury.4 Thus, Defendant Vander Luitgaren’s objection is OVERRULED.

          Defendant Vander Luitgaren also objects that Agent Dorney’s Memorandum of Interview was

   placed in both the official case file and the case agent’s working file. Doc. No. 129 pp. 1, 7. This

   objection is also meritless. Awareness by the investigating agent of exculpatory statements is not the

   concern of Kastigar. Caporale, 806 F.2d at 1518-19. Defendant Vander Luitgaren’s objection based

   on the inclusion of reports containing the immunized explanation in the working file is also

   OVERRULED.

   3. Investigation After the Proffer




            4
            Defendant Vander Luitgaren also objects that “at least the loan testimony was used when
    questioning other witnesses, specifically including Donna Lewis.” Doc. No. 129 p. 5. Though
    Defendant Vander Luitgaren gives no citation for this proposition, the Court believes he is referring
    to Agent Woolard’s testimony that he “might have asked in some interviews about a loan,” but “was
    never able to confirm that a loan existed.” Hr’g Tr. Mar. 12, 2008 p. 179. Defendant Vander
    Luitgaren also cites the discussion of Ms. Lewis before the grand jury. Doc. No. 129 p. 5. However,
    there was no mention of the loan in conjunction with Ms. Lewis before the grand jury (see Def. Ex.
    DD). Any mention of a loan to Ms. Lewis during an interview is speculative. If it had been
    mentioned, it was never confirmed. The government need not negate every abstract possibility of
    taint. Byrd, 765 F.2d at 1529. On this testimony, the possible mention of the loan is harmless error
    and not grounds to dismiss the indictment. Id. at 1532.
                                                     -9-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 10 of 15 PageID 999




           Defendant Vander Luitgaren argues that “[c]ontrary to the [R&R], Agent Woolard testified that

   his involvement prior to the proffer was very brief, and that he conducted all of his extensive interviews

   after the proffer.” Doc. No. 129 p. 2. But, the R&R accurately states that “prior to the proffer at issue

   here, Special Agents Michael Dorney and William Woolard of the GSA-OIG conducted an

   investigation into this matter, including extensive witness interviews (19 witnesses from five

   companies) as well as extensive document review.” Doc. No. 126 pp. 2-3. Agent Dorney testified at

   the Kastigar hearing that he had conducted 19 witness interviews, 18 of them before he interviewed

   the Defendant. Hr’g Tr. Mar. 12, 2008, pp. 16-17. While the R&R does not separate out the

   involvement of the two agents, there is nothing inaccurate in the R&R that merits correcting. Thus,

   Defendant Vander Luitgaren’s objection is OVERRULED.

   4. Involvement by Mr. Angel Rodriguez-Vasquez

          Defendant also objects on the basis that the R&R does not mention Angel Rodriguez-Vasquez.

   Defendant argues that the plea agreement with Mr. Rodriguez-Vasquez was a product of Defendant

   Vander Luitgaren’s immunized statements.5 Doc. No. 129 pp. 9-10. However, the government knew

   of Mr. Rodriguez-Vasquez’s involvement long before the proffer. The government subpoenaed Mr.

   Rodriguez-Vasquez’s bank records in December of 2005, before Defendant Vander Luitgaren’s March

   2006 proffer. Hr’g Tr. Mar. 12, 2008 Gov’t Ex. 4. While the government bears the burden of showing

   by a preponderance that a Kastigar violation did not occur, Defendant cannot raise theoretical Kastigar

   claims based upon every event that occurred post-proffer. See Byrd, 765 F.2d at 1529 (the government



             5
              Defendant Vander Luitgaren did not mention Mr. Rodriguez-Vasquez and many other of
     these objections in his motion to dismiss (Doc. No. 37), but to avoid additional delay, the Court will
     set aside the issue of waiver and consider all of Defendant’s objections to the R&R.

                                                     -10-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 11 of 15 PageID 1000




   is not required to negate every abstract possibility of taint). That the government made a plea agreement

   at some time after the proffer does not automatically indicate that immunized testimony was the basis

   for the plea agreement. There is nothing to indicate that Defendant Vander Luitgaren’s exculpatory

   explanation caused Mr. Rodriguez-Vasquez to agree to testify against Defendant Vander Luitgaren. At

   the Kastigar hearing, the government presented copious evidence preceding the proffer that could have

   given Mr. Rodriguez-Vasquez an incentive to cooperate. See, e.g., AK Speciality Vehicle’s Voluntary

   Disclosure Report, Hr’g Tr. Mar. 12, 2008 Gov’t Ex. 1.

          Contrary to Defendant Vander Luitgaren’s argument, this case is not like United States v.

   Hampton, 775 F.2d 1479, 1489 (11th Cir. 1985), where the Eleventh Circuit held that “the government

   made no effort . . . to establish the independence of [the guilty-pleading defendant’s] testimony or to

   demonstrate the source of the evidence confronting [the guilty-pleading defendant’s] testimony at the

   time of the plea agreement.” Instead, the United States presented a great deal of evidence implicating

   Mr. Rodriguez-Vasquez that the government had before the proffer. That the government received a

   second production of documents regarding Mr. Rodriguez-Vasquez from Banco Popular after the proffer

   does not negate the fact that the documents were produced pursuant to a pre-proffer subpoena (dated

   March 2, 2006). See Hr’g Tr. Mar. 12, 2008 pp. 40-45; Gov’t Ex. 5. Thus, Defendant’s objection based

   on Mr. Rodriguez-Vasquez’s plea is OVERRULED.




                                                     -11-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 12 of 15 PageID 1001




   5. Agent Woolard’s Testimony That He Knew that Co-Defendant Candelario paid $30,000 to Mr.
   Vander Luitgaren based on bank records and “interviews [plural] of Vander Luitgaren”

          Defendant Vander Luitgaren objects to the R&R because Agent Woolard testified that “he knew

   that Mr. Candelario paid $30,000 to Mr. Vander Luitgaren ‘based on bank records . . . and interviews

   [plural] of Vander Luitgaren.’” Doc. No. 129 p. 2. Defendant argues that Agent Woolard’s use of

   “interviews” means that Agent Woolard used information from both the proffer and the prior interview

   at Defendant Vander Luitgaren’s home. Id. This objection is patently meritless. When asked about

   using “interviews” plural at the Kastigar hearing, Agent Woolard pointed out that he was only personally

   present at the interview at Defendant’s home, not at the proffer, and that he misspoke if he said

   “interviews” instead of “interview.” Hr’g Tr. Mar. 12, 2008 p. 172. Agent Woolard knew that Co-

   defendant Candelario had paid Defendant Vander Luitgaren $30,000 based on an independent source-

   bank records that he received prior to the proffer. Hr’g Tr. Mar. 12, 2008 Gov’t Ex. 3. Bank of America

   gave the government bank records regarding the payments in February 2006 (Hr’g Tr. Mar. 12, 2008

   Gov’t Ex. 3), but the proffer was not until March 2006 (Doc. No. 126 p. 4). Thus, Defendant’s objection

   is OVERRULED.

   6. Defendant Vander Luitgaren’s Statements Regarding the Propriety of the Payments

          The R&R states that Defendant Vander Luitgaren admitted to making improper payments. Doc.

   No. 126 p. 3. Defendant Vander Luitgaren argues that it is disputed whether he admitted that the

   payments to him were improper.6 Id. Defendant Vander Luitgaren is correct that at his proffer, he

   disputed whether the payments were improper. Thus, the R&R is respectfully MODIFIED pursuant to


             6
             Defendant Vander Luitgaren now attempts to show that the payments were proper, because
     his employer was aware of them. Doc. No. 129 p. 3. The propriety of the payments is not at issue on
     the Motion to Dismiss and instead is a question of fact for the jury.

                                                     -12-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 13 of 15 PageID 1002




   28 U.S.C. § 636(b)(1)(C) to reflect that this fact remains in dispute. However, this discrepancy does not

   affect the validity of the Magistrate’s analysis, nor this Court’s decision to deny the motion to dismiss.

   7. Exhibit 17: AK Specialty Vehicles Code of Conduct

          Defendant Vander Luitgaren argues that Exhibit 17 (AK Specialty Vehicles’ Code of Conduct)

   was somehow a product of the immunized proffer testimony because it was “requested and received after

   the immunized testimony.” Doc. No. 129 p. 4. However, this objection lacks merit. The United States

   knew that AK Specialty Vehicles was Defendant Vander Luitgaren’s employer prior to the proffer, based

   on AK Specialty Vehicles’ Voluntary Disclosure Report. Hr’g Tr. Mar. 12, 2008 pp. 147, 148, Gov’t

   Ex. 1 p. 1. The United States has shown that investigation into the policies of that employer in relation

   to the alleged kickback scheme (of which the government was also enlightened through AK Specialty

   Vehicles’ Voluntary Disclosure Report (Hr’g Tr. Mar. 12, 2008, Gov’t Ex. 1 p. 1)) was not a product

   of Defendant Vander Luitgaren’s proffer.          Thus, Defendant Vander Luitgaren’s objection is

   OVERRULED.

   8. Mention of Afghanistan

          Defendant Vander Luitgaren also objects to the R&R by arguing that because the government

   stated that witnesses will be coming from various countries, including Afghanistan, the government must

   have used immunized testimony to develop witnesses. Doc. No. 129 p. 6 (citing Joint Motion for Date

   Certain (Doc. No. 93)). Defendant Vander Luitgaren bases this assertion on the fact that pursuant to his

   proffer, he provided a letter that his son wrote while he was living in Afghanistan. Id. Defendant

   Vander Luitgaren’s son is now deceased. Hr’g Tr. Mar. 13, 2008 pp. 98-99. Neither Defendant Vander

   Luitgaren nor the Court knows what witness, if any, will be coming to testify from Afghanistan, nor how

   this theoretical witness was developed. Defendant has no basis to object based on Kastigar with so little

                                                      -13-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 14 of 15 PageID 1003




   information. “The mere theoretical possibility of an eventual Kastigar violation at trial is no grounds

   for dismissing the indictment. If and when the government seeks to elicit or introduce evidence

   indirectly derived . . . in such a manner, then [Defendant] would have cause to complain.” Byrd, 765

   F.2d at 1531. At this point, the reference to Afghanistan does not indicate that the government used

   immunized testimony to further its investigation. See Hr’g Tr. Mar. 13, 2008 p. 70 (Judge Baker told

   Defendant that future potential Kastigar violations are not at issue). Thus, Defendant’s objection is

   OVERRULED.

   9. Whether Agents or Counsel for the Government Had Copies of Civil Depositions

          Defendant Vander Luitgaren also tries to make an issue out of whether copies of civil depositions

   of Defendant Vander Luitgaren and of Larry Sodomire were provided to counsel for the government or

   to Agent Dorney. Doc. No. 129 p. 3. But, Defendant Vander Luitgaren simply states that AUSA Perez

   emailed the depositions to the government’s attorney, James Kurosad, without any legal argument that

   there was a Kastigar violation. Id. Agent Woolard testified that he had not seen the civil deposition

   transcripts until January 2008 (Hr’g Tr. Mar. 12, 2008 pp. 153-54), and Agent Dorney testified that he

   has still never seen these deposition transcripts (Hr’g Tr. Mar. 12, 2008 pp. 108-09). The government

   has adequately shown that the civil deposition testimony was not used in furtherance of the investigation

   or to indict Defendant Vander Luitgaren.         Thus, Defendant Vander Luitgaren’s objection is

   OVERRULED.




                                                     -14-
Case 6:07-cr-00211-ACC-DAB Document 166 Filed 06/05/08 Page 15 of 15 PageID 1004




                                            Conclusion

          Based on the foregoing, it is ORDERED as follows:

          1. The Magistrate’s Report and Recommendation (Doc. No. 126), filed March 21, 2008, is

   MODIFIED and ADOPTED in part as indicated herein.

          2. Defendant Thomas E. Vander Luitgaren’s Motion to Dismiss the Indictment (Doc. No.

   37), filed on December 28, 2007, is DENIED.

          DONE and ORDERED in Chambers, Orlando, Florida on June 5, 2008.




   Copies furnished to:
   Counsel of Record
   Magistrate Judge




                                                 -15-
